              Case 2:08-cr-00064-MCE Document 135 Filed 10/25/11 Page 1 of 2


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     Attorney for Candy Wu
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7                                    UNITED STATES DISTRICT COURT
8                                    EASTERN DISTRICT OF CALIFORNIA
9

10                                                   )   No. CR-2:08-CR-00064-MCE
     UNITED STATES OF AMERICA,                       )
11                                                   )   STIPULATION AND ORDER TO
                     Plaintiff,                      )   CONTINUE THE OCTOBER 27, 2011
12                                                   )   SENTENCING DATE TO DECEMBER 8,
            Vs.                                      )   2011
13                                                   )
     CANDY WU,                                       )   Honorable Morrison C. England
14                                                   )
                     Defendant.                      )
15                                                   )
                                                     )
16                                                   )
                                                     )
17                                                   )
                                                     )
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        IT IS HEREBY STIPULATED by and between Assistant United States Attorney, Michael
19
     Beckwith, counsel for the Plaintiff, and Defendant Candy Wu, by her Counsel, Steven F. Gruel,
20
     that the Sentencing Date currently scheduled for October 27, 2011, at 9:00 a.m., is continued to
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     December 8, 2011 at 9:00 a.m., or as soon thereafter as is convenient for the Court.
22
             The Court interpreter coordinator, Yolanda Riley Portal, and the United States probation
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     Officer assigned to this case has been notified of this continuance and has indicated that
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     December 8, 2011, is an available date.
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                                Case 2:08-cr-00064-MCE Document 135 Filed 10/25/11 Page 2 of 2



1                               IT IS SO STIPULATED.

2
     Dated: October 24, 2011                       __/s/_________________
3                                                 STEVEN F. GRUEL
                                                  Attorney for Candy Wu
4

5
     Dated: October 24, 2011                       _/s/__________________
6                                                 MICHAEL BECKWITH
7
                                                  Attorney for United States of America

8

9
                                                             ORDER
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11
                            IT IS SO ORDERED.
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13                Dated: October 25, 2011

14                                                        __________________________________
                                                          MORRISON C. ENGLAND, JR
15                                                        UNITED STATES DISTRICT JUDGE
16

17   DEAC_Signatu re-END:




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